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ALEXANDER E. RAMOS #15234
LANGFORD | RAMOS, PLLC.
43 East 400 South
Salt Lake City, Utah 84111
T. 801.328.4090
F. 801.364.3232
alex@langfordramos.com



                    IN THE UNITED STATES DISTRICT COURT
             IN AND FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


 UNITED STATES OF AMERICA,
                                                           REQUEST FOR FREEDOM
                Plaintiff,

 v.

 LATEESHA RICHARDS,                                           Case No. 2:20-cr-00182

                Defendant



                                        INTRODUCTION

       I’ve been told by many that this case is not about race, discrimination, flaws of our

criminal justice system, police brutality, George Floyd, or Derek Chauvin. Truth is, it is.

       The entire timeline of this case, including this sentencing, is about all of these things. But

in the end, these things do not matter. They do not matter because it is only Lateesha who will

suffer the direct consequences of this case. Racism, discrimination, our flawed criminal justice

system, police brutality, George Floyd’s murder, and Derek Chauvin’s conviction will all remain

firmly in place after her sentencing. What remains before this court is one unanswered question:

whether Lateesha should remain in jail. She should not. We request her freedom.




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       On August 2, this case will come to an end. On that day, defense counsel will present

argument for Lateesha’s immediate release because the time she’s been incarcerated is beyond

sufficient for the purpose of sentencing. Because keeping her in jail any longer is unjust and

greater than necessary. What follows is a preview of some of the arguments to be presented.

                                               Reactive

       This is unlike cases we usually see. For all involved in this case, including its

counterparts, this is a rare case. One thing that is not unique is the purpose of sentencing. At

sentencings, we try to pinpoint – or at least come to understand – the motivation behind the

crime. We do this so a tailored sentence can be imposed. A neglected or abusive upbringing,

desperation, underlying mental health issues, and drug abuse are common threads in cases. For

Lateesha, many of these are part of her make up, but they weren’t the motivation for this crime.

For Lateesha, it was reactive.

       Lateesha didn’t plan to riot that day. In fact, she didn’t even plan to protest that day.

Lateesha was on her way to visit her mom when she heard about the protest through social

media. Like others across the world, Lateesha wanted to join the chorus of those denouncing

George Floyd’s murder. She didn’t post a blacked out image on Instagram, or hash tag

#georgefloyd, #saytheirnames, #icantbreathe, or #blacklivesmatter, and continue to her mother’s

house as planned. Instead, a reactionary Lateesha got off the freeway. She didn’t tell her mom.

She didn’t tell her girlfriend. She just drove up to the capitol to join the protest. Once there, she

hopped on a music-blaring side-by-side with other protestors. They followed the unofficial

protest route down from the capitol. While they were making their way down, an abandoned

patrol car was being overturned, vandalized, defecated on, and being lit on fire. The protest had

turned into a riot. As they approached the library, they saw smoke and fire. Lateesha did not

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leave, she got off the side-by-side and joined the rioters. She took pictures with the burning

patrol car in the background. She then got her pair of basketball shorts and threw them on the

fire. Because they were flame retardant, they subdued the flames where they landed. As the riot

grew and moved, Lateesha remained. At one point during the riot she threw a bat that had been

making its way through rioters towards a line of police officers. The bat did not hit any officers

or bystanders. There were no injuries or victims. Lateesha joined other rioters and vandalized the

overturned vehicle of a counter-protestor with various weapons that fell from that same vehicle.

Her reactive nature was the reason behind all of her bad acts. Yet video in-between her riotous

acts, video footage also shows Lateesha peacefully speaking with police and helping an elderly

individual get medical attention.

       Lateesha’s reactive nature that day were a reaction to the events that day. In any other

situation, Lateesha would not have thrown items on a vehicle that was on fire. On any other day,

she wouldn’t have thrown a random bat that was on the ground towards law enforcement. She

wouldn’t have vandalized another citizens vehicle just because she didn’t agree with their

politics. Her poor choices and actions that day were an anomaly.

                                           Incarceration

       The time that Lateesha has served reflects the seriousness of her conduct, promotes

respect for the law, and is just punishment for her actions. Further, her incarceration has afforded

adequate deterrence – both specific and general – to criminal conduct. Lastly, her incarceration

has protected the public from further crimes by Lateesha. The sentence to be imposed should not

include further incarceration. Rather, it should focus on whether supervision, educational or

vocational training, medical care, or other correctional treatment, if any, should be imposed.



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                                          CONCLUSION

       Lateesha deserves freedom. We look forward to demonstrating who Lateesha is and why

the only just sentence is one void of further incarceration.

       DATED this 26th day of July, 2021.

                                              /s/ Alexander E. Ramos
                                              Alexander E. Ramos
                                              Attorney for Lateesha




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